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                               UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF PENNSYLVANIA


IN THE MATTER OF APPLICATION FOR    :
ADMISSION TO PRACTICE IN THIS COURT :



                                                   PETITION
          Chris R. Miltenberger
       I _________________________________,        hereby petition the United States District
Court for the Middle District of Pennsylvania to admit me to practice before that Court. In
support of my petition, I state as follows:

My office address is:               1340 N. White Chapel, Suite 100, Southlake, TX 76092
                                   __________________________________________
                                     Law Office of Chris R. Miltenberger, PLLC
                                   __________________________________________

                                   __________________________________________

        Office Telephone:           817-416-5060
                                   __________________________________________

      I was admitted to practice before the Courts listed below on the date shown after
the name of each Court, and I am currently a member in good standing of all those Courts.
  Texas - 1982; Northern District of Texas - 2012; Eastern District of Texas - 2013; Southern District of Texas - 2017;

    Western District of Texas - 2017; Fifth Circuit Court of Appeals - 2015; United States Supreme Court




                                       Texas Bar Number 14171200
My attorney Identification number is: ___________________

 FOR COURT USE ONLY

 _____ GENERAL ADMISSION:

 GRANTED BY THE COURT: ______________________                                         Date: _____________

 _____ SPECIAL ADMISSION:

 GRANTED BY THE COURT _______________________                                         Date: _____________
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Please Answer the Following Questions:


       All occasions, if any, on which I have been convicted of a crime (subsequent to my
becoming an attorney), censured, suspended, disciplined or disbarred by any court are set
forth as follows: (State the facts and circumstances connected with each; if none, state
“none”.)
                   None




        All occasions, if any, on which I have been held in contempt of court are set forth
as follows: (State the nature and final disposition of contempt; if none, state “none”.)
            None

                            XXX
       I do _____, do not _____,    have any disciplinary action, contempt or other
proceedings involving me pending before any court. (Check the appropriate space.) If
there are pending proceedings, please explain:
                                  N/A


       I am seeking:

                    General Admission under Local Rule LR 83.8.1
         XX
                    Special Admission (specify by a check which rule) under
                          XX
       LR 83.8.2.1             , LR 83.8.2.2          , LR 83.8.2.3   , or LR 83.8.2.4

If seeking special admission under Local Rules LR 83.8.2.1, LR 83.8.2.2, LR 83.8.2.3, or
LR 83.8.2.4, the basis for my admission under the designated rule is as follows:
         I request to be admitted for a particular case.




NAME THE PARTY YOU REPRESENT:
              Rob Kline



If special admission is requested for a particular case, please list case number and caption:

Case #        Docket 4:18-cv-99-MWB-KM
              Rob Kline V. Polaris Industries, Inc.
Caption #
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I understand that:

      1)     If seeking admission under Section LR 83.8.2.2, LR 83.8.2.3, or 83.8.2.4,
             I must submit a letter from a superior stating the agency with which I am
             employed and the duties performed which qualify me for admission under
             those sections.

      2)     If petitioning for admission, only in a particular case, under Rule LR 83.8.2.1,
             I need no sponsor’s certificate. Any attorney specially admitted under LR
             83.8.2.1, shall, in each proceeding in which he or she appears, have
             associate counsel who is generally admitted under Local Rule 83.8.1 to
             practice in this court, whose appearance shall also be entered of record and
             upon whom all pleadings, motions, notices, and other papers may be served
             in accordance with any statute or applicable rule. The attendance of any
             such associate counsel upon the hearing of any motion or the taking of any
             testimony shall be sufficient appearance for the party or parties represented
             by such associate counsel. Either the specially admitted attorney or
             associate counsel must be fully prepared to participate in any hearings,
             arguments, conferences and trials. (See LR 83.9)

             If special admission is requested for a particular case, please list the name,
             address, telephone number and bar identification number of associate
             counsel to be entered of record in the case:
                Brett M. Freeman: Bar Number PA 308834, Sabatini Freeman, LLC, 216 N. Blakely St., Dunmore, PA 18512,
                 Phone (570) 341-9000, Facsimile (570) 504-2769, Email bfecf@sabatinilawfirm.com




      3)     If seeking general admission under Rule LR 83.8.1, I must be a member of
             the bar of the Supreme Court of Pennsylvania and have a sponsor who is a
             member in good standing of the Bar of this Court present to move for my
             admission and I must submit the sponsor’s certificate with my petition.
                                                 /s/ Chris R. Miltenberger   (with consent)
                                              PETITIONER
                                               Texas 14171200

                                              (Bar Identification Number and State where admitted)
                                                 February 9, 2018
                                              (Date)

By signing this petition for admission, I acknowledge that I have read the attached
Middle District of Pennsylvania Code of Professional Conduct and agree to subscribe to
the standards set forth in the Code.
                                /s/ Chris R. Miltenberger (with consent)
NAME OF PETITIONER
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                            UNITED STATES DISTRICT COURT
                                       FOR THE
                           MIDDLE DISTRICT OF PENNSYLVANIA

                            CODE OF PROFESSIONAL CONDUCT

      As a member of the Bar of the United States District Court for the Middle District
of Pennsylvania, I will strive for the following professional ideal:

1.    The rule of law will govern my entire conduct. I will not violate the law or place myself
      above the law.

2.    I will treat with civility and respect the lawyers, clients, opposing parties, the court and all
      the officials with whom I work. Professional courtesy is compatible with vigorous
      advocacy and zealous representation. Even though antagonism may be expected by
      my client, it is not part of my duty to my client.

3.    I will respect other lawyers' schedules as my own, and will seek agreement on meetings,
      depositions, hearings, and trial dates. A reasonable request for a scheduling
      accommodation should never be unreasonably refused.

4.    Communications are life lines. I will keep the lines open. Telephone calls and
      correspondence are a two-way channel; I will respond to them promptly.

5.    I will be punctual in appointments, communications and in honoring scheduled
      appearances. Neglect and tardiness are demeaning to others and to the judicial
      system.

6.    I will earnestly attempt to resolve differences through negotiation, expeditiously and
      without needless expense.

7.    Procedural rules are necessary to judicial order and decorum. I will be mindful that
      pleadings, discovery processes and motions cost time and money. I will not use them
      heedlessly. If an adversary is entitled to something, I will provide it without unnecessary
      formalities.

8.    I will not engage in conduct that brings disorder or disruption to the courtroom. I will
      advise my client and witnesses appearing in court of the proper conduct expected and
      required there and, to the best of my ability, prevent my client and witnesses from
      creating disorder or disruption.

9.    Before dates for hearings or trials are set, or if that is not feasible immediately after such
      date has been set, I will attempt to verify the availability of necessary participants and
      witnesses so I can promptly notify the court of any likely problems.

                                                              I agree to subscribe to the above
                                                              Code of Professional Conduct:


                                                                /s/ Chris R. Miltenberger (with consent)
                                                              __________________________
                                                              Signature
